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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                  11/5/2020
                                                                       :
NATIONAL UNION FIRE INSURANCE COMPANY :
OF PITTSBURGH, PA                                                      :
                                                                       :
                                    Plaintiff,                         :     20-CV-4042 (JPC)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
ACCELERATED COURIER, INC.                                              :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        It is ORDERED that the parties shall submit the joint letter described in the Court’s Notice

of Reassignment and Adjournment (Dkt. 7) by November 23, 2020. By that date, the parties shall

also submit to the Court a proposed case management plan and scheduling order, a template of

which is available at https://www.nysd.uscourts.gov/hon-john-p-cronan.

SO ORDERED.

Dated: November 5, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
